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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                        Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                           Section H
                                                     Judge Jane Triche Milazzo
        Plaintiffs,
                                                     Division 1
 v.                                                  Magistrate Judge Janis van Meerveld

 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

        Defendants.


                STATEMENT OF UNCONTESTED FACTS IN SUPPORT
                 OF MOTION FOR PARTIAL SUMMARY JUDGMENT
               ON PLAINTIFFS’ REQUESTS FOR INJUNCTIVE RELIEF

       Defendants Leon Cannizzaro (in his individual capacity); Graymond Martin; David Pipes;

Iain Dover; Jason Napoli; Arthur Mitchell; Tiffany Tucker; Michael Trummel; Matthew Hamilton;

Inga Petrovich; Laura Rodrigue; and Sarah Dawkins (the “Individual Defendants”), through

undersigned counsel, respectfully submit this statement of uncontested facts in support of their

motion seeking partial judgment dismissing all requests for injunctive relief against them for lack

of standing.




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       1.     The criminal case in which Renata Singleton was a witness, State v. Vernon

Crossley, terminated in June 2015 when Mr. Crossley pleaded guilty and was sentenced. See

Exhibit 1, June 4, 2014 minute entry in Case No. 522-558; see also Doc. No. 52 at ¶ 224.

       2.     The criminal case in which Marc Mitchell was a witness, State v. Gerard Gray,

terminated in June 2016 when Mr. Gray was convicted and sentenced. See Exhibit 2, Excerpt of

Docket Master for Case No. 521-734; see also Doc. No. 52 at ¶¶ 255–256.

       3.     The criminal case in which Lazonia Baham was a witness, State v. Isaac Jones,

terminated in March 2018 when Mr. Jones pleaded guilty and was sentenced. See Exhibit 3, Docket

Master for Case No. 536-436.

       4.     The criminal case in which Jane Doe was a witness, State v. Matthew Totaro,

terminated in December 2018 when Mr. Totaro pleaded guilty and was sentenced. See Exhibit 4,

Excerpt of Docket Master for Case No. 523-930.

       5.     The criminal case in which Fayona Bailey was a witness, State v. Cardell Hayes,

terminated as to all but one count in April 2017, when Mr. Hayes was convicted and sentenced.

The remaining count was dismissed in July 2017. See Exhibit 5, Excerpt of Docket Master for

Case No. 528-975; see also Doc No. 52 at ¶ 325.

       6.     The criminal case in which Tiffany LaCroix was a witness, State v. Janero

McBride, terminated in June 2017 after Mr. McBride was convicted and sentenced. See Exhibit 7,

Excerpt of Docket Master for Case No. 526-096; see also Doc No. 52 at ¶ 325.

       7.     The criminal case in which John Roe was a witness, State v. Michael Young,

terminated in August 2019 after Mr. Young pleaded guilty and was sentenced. See Exhibit 7,

Excerpt of Docket Master for Case No. 529-219.




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           8.    Matthew Hamilton is not currently employed by the Orleans Parish District

Attorney’s Office. His last date of employment was October 20, 2017. See Declaration of

Graymond Martin at ¶ 10.

           9.    Laura Rodrigue is not currently employed by the Orleans Parish District Attorney’s

Office. Her last date of employment was August 2, 2018. See Declaration of Graymond Martin at

¶ 11.

           10.   Iain Dover is not currently employed by the Orleans Parish District Attorney’s

Office. His last date of employment was June 7, 2019. See Declaration of Graymond Martin at

¶ 12.

           11.   Tiffany Tucker is not currently employed by the Orleans Parish District Attorney’s

Office. Her last date of employment was June 14, 2019. See Declaration of Graymond Martin at

¶ 13.

           12.   Inga Petrovich is not currently employed by the Orleans Parish District Attorney’s

Office. Her last date of employment was November 8, 2019. See Declaration of Graymond Martin

at ¶ 14.




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                                     Respectfully submitted,


                                      /s/ Matthew J. Paul
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                                     W. Raley Alford, III, 27354
                                     Matthew J. Paul, 37004
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                                     individual capacity); Graymond Martin;
                                     David Pipes; Iain Dover; Jason Napoli;
                                     Arthur Mitchell; Tiffany Tucker; Michael
                                     Trummel; Matthew Hamilton; Inga
                                     Petrovich; Laura Rodrigue; and Sarah
                                     Dawkins




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